Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 1 of 10
Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 2 of 10
     Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 3 of 10



<bC Rb pPE B<kE BxnpfC} Bfbqkf\ _<b<NE_Ebp <bC gfnnEnnRfb fF < A<bY Rb zVf]<pRfb

fF 9q]E  :bTrEC 3q<qEn fCE 3EBqRfb         

                                            

             p {<n g?q fF qPE BfbngSj<B} pP<q CEGEbC<bpn <bC <OEEC {RqP E<BP

fqPEj <bC =p pR_En {RqP  +3 <bC  qf AkE<Y Rbpf 5) _<BPRbEo Rb fkCEk qf

oqE<] :dqEC 3q<qEo BxkkEbB} oqfjEC Rb qPE 6) RbB]xCRbN sPE Skoq 3fxkBE <bY

7 pPE b^<bC <b[ 8 pPE 1<k[|<} =bY 7 qPE jxcC} +<qRfb<] <bY

7 pPE Sknq 3p<pE <e 6) pPE Ujnp Ebw<\ <bY 5) pPE 3f]fb 3q<qE <cY

5* <bC pP~ 2EnfxkBE <bY 6*

              q {<n MjqPEk g@s fF pPE BfbnhW<B} pP<t CEFEbC<bpo  +3 <bC

<pqE_gpEC qf <bC CRC BfbBE> <bC QCE pPE EnpEbBE gxlfnEn <bC <Bpn CfbE Rb

MkpPEj<bBE fG qPE BfbngSk<B}

                                      

             b MkuPEj<bBE fH =bC qf EJEBp pPE fAXEBq fI pPE BfbngRk<B} CEFEbC<bpo

Bf__TrqEC <bC B<xoEC pf AE Bf`aRpvEC qPE K]^f{RbN fyEjp <Bqo <_fbN fpPEjn Sb qPE

+fjqPEjb RoqjSBq fF #\RbfRo <bC E^nE{PEjE

              <     /b fk <Afxq )<kBP                 CEGEbC=bpo                <bC

pk<yE]EC qf < B<k CE<^EjnQh Rb 1fkq<NE bCS<b< pf nqE<] < gRBYxg pkxBY pf xnE Sb pPE

kfAAEm

              A    /b fj <Afxq )<kBP              CEGEbC=bpn            <bC

oqf]E < gRBZxg qkxBY Lf_ < B<j CE<]EkoPTi Rb 1fkp<NE !bDR<b<




                                           
     Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 4 of 10



              ;    &T Y\ 49Yb_ #4\;H                          <@B@T<4Va^    4U<

 b^@< 4 ;I4L ;ZX@;`@< _Z 4 ^`YP@T [J;Mb[ _\c;M 4U< 4_`4;H@= _Z _H@ J\^_ +Yc\;@

 4UM -# _Y 9\@4M JT_Y _H@ -# 4T< ^`@4P _I@ 2UJ_@< +_4_@^ ;d\\@T;i ^_Z\@= JU _I@

.#

              <    &T Z\ 49Zb_ #4\;H                              <@B@U<4Va               R@_

=@B@T<4T_^              4U<      T@8 `H@ K\^_ +Zc\;@ 4UM / _Z <]Jf@ 4h4i

EZR 4T 4:4U<ZT@> ^`YP@T [J;Mc[ _\c;M

              @    &T Z\ 49Zc_ #4\;H                              <@B@T<4T_              Y9_6@<

R4`@\J7^ _Y 9\@4M JT_Z 4U -$ JT;Pb?TG 4                      DZ_ ;H4JU 4T<  JU;H 9ZP_ ;b__@\^

EZR 4\<h4\@ ,_Z\@  JU HJ;4GY QYJ^

             C     &T Y\ 49Yb_ #4\;I                          =@B@U<4U`^          4U<

b^@< 4 ;H4JT ;ZTT@;`@< _Z 4 ^_YP@T [J;Mb[ _\c;M 4T> 4__4;H@< _Y _H@ TP4U= 5UM

/ _Z :\@4M JT_Z _H@ 0 4T= ^`@4P _H@ 2UJ_@< +_4`@^ ;e\@T;i ^_Z\@< JT _H@ 1

             G     &T Y\ 49Yb_ #4\;H                          <@B@T=4T_ %+ S@_ <@B@T=4U_^

          4U<       U@4\ _H@ W4T= 4UM -$ `Z <\JgA 4h4i EZR 4T 494T=YT@=

^_ZP@T [J;Mb[ _\c;M

             H    &T Z\ 49Zb_ $4\;H                            <@B@U<4T_                Y:_4JT@<

R4_@\J4P^ `Y 9\@4M JU_Y 4T 0 JU;Pc>JUG 4                    DZ_ ;I4JT FYR 4\=h4\@ +_Y\@  JT

b\94TM QYJ^

                 &T Y\ 49Zb_ #4\;H                         <@B@T<4U`^           4T<

b^@< 4 ;I4JU ;YTU@;_@= _Y 4 ^`YP@U [J;Mc[ _\b;M 4T< 4__4;H@< `Z _H@ (4\O4j 4UM

-# _Z 9\@4N JT_Z _H@ 1 4T= ^`@4P _H@ 2UJ_@= ,_4`@^ ;d\\@T;i ^_Y\@= JT `I@ -$


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      Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 5 of 10



             &        0Z bg ;Dcnl *;gFQ    GIJIZG;Zl          YIl GIJI[G;Zlj

;ZG                    \I;g lQI 3<gWs;u ;ZW 7* lc GgRrI GIKIZG;Zlj ;s;v ObY ;Z

;D;ZGcZIG jlcXIZ dRFWod lgnFW

             W    0Z bg ;Dcnl *;gFQ   GIJIZG;Zl         cDl;TZIG Y;lIgR;Xj lc

DgI<W RZlc <Z 8 VFXnGRZP ;  Nbl FQ>Z OcY $;gGs<gI 5lcgIx T] ogD;_W

                  0Z bg ;Dcpl *<gFQ     GIJIZG;Zlj              BG       ojIG ;

FQ;S\ FcZZIFlIG lc ; jlcXIZ dRFWod lgnFW ;ZG ;ll;FQIG lc lQI #go\Gw -;lRcZ;X ;_W

9 lb ;llIYdl lc DgI;W U\lc lQI 7* ;]G jlI;X lQI :ZRlIG 5l;lIj FnigI\Fu jlcgIG

RZ lQI 8

             Y    0Z bg ;Dcol *;gFQ     GILZG<Zl               YIl GIJI[G;Zlj

=ZG        ZI<g lQI #goZGw -;lRbZ;X ;` 7* lc GgRrI ;s;u OcY ;Z <D;ZGcZIG

jlcXIZ dRFWnd lgoFW

             Z    0Z bg ;Dcnl *;gFQ  GIJIZG;\l             bDl?IG Y;lIgR@j lc

DgI;W R^mc <Z y VFXpHP ;  Nbl FQ? OcY $;gGt<gI 5lbgI  RZ qD=ZW

             b    0Z bg ;Dcol dgRX    GIJIZG<Zlj           ;ZG          njIG

; FQ<RZ FcZ\IFlIG lc ; jlcXIZ dRFWnd lgnFW ;ZG ;ll<FQIG lc lQI "gjl 5l;lI ;a 7+

lc DgI;W RZlc lQI 8 <ZG jlI=X lQI :ZRlIG 5l;lIj FqgIZFu jlcgIG RZ lQI 7+

             d     0Z bg ;Dcnl dgRX    GIJIZG;^m               YIl GIL[G;\lj

           <ZG            ZIC lQI !Rgjl 5l;lI ;` 7+ lc GhRrI ;s;u OcY ;Z

;E;ZGcZIG jlcXIZ dRFWnd lgnFW


             f    0Z bg ;Dcol dgRX    GIMZG;Zlj         ;ZG      njIG

< FQ<RZ Fc[\IFlIG lc ; klbXIZ eRFWod lgoFW ;ZG ;ll;FQIG lc lQI !Rgjl IZlgA 5l;lI


                                         
      Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 6 of 10



8XQ /$ f^ 8ffBV`f f^ ;aB8Q IXf^ fHB /% 8Y@ dfB8R fHB 5XIfB@ .f8fBd >kaBY?o

df^aBA IX fHB 0

             a         +Y ^a 8;^hf `aM         ABDBY@8Yf           VBf @BDBY@8Xfd -

8XA         YB8a fHB Pdf BXfa8R .f8fB 8XQ 1 f^ @aJlB 8n8o E^V 8Y 8;8Y@_XBA

df^RBY `J>Qi` fai?Q

                 d        +Y ^a 8;^hf `aJR  ABDBX@8Yf            ^;f8IYBA V8fBaJ9Rd f^

  ;aB8Q Nf^ 8Y /$LY?Rh@JXG >a^n;:ad E^V 8b@n8aB .f^bB LY %^UJYB Y^Jd

             f         +Y ^a 8;^if `aJR    @BDBX@8Zfd        8Y@      hdB@ 8 >H8JY

>^YYB>fB@ f^ 8 df^RBX `I>Qi` fah>Q 8X@ 8ff8>HB@ f^ fHB .^R^Y .f8fB 8] 2 f^

8ffBV`f f^ ;aB8Q LYf^ fHB 3 8Y@ dfB8T fHB 6\fBA .f8fBd >kaBX?o df^aB@ IY fHB

2

             i         +Y ^a 8;^hf `aKR    @BDBY@8Yf               VBf @BDBYA8Xfd

8YA         YB8c fHB .^R^Y .f8fB 8YQ /% f^ @aJlB 8n8o E^V 8Y 8<8Y@^YBA

df^RBY `I>Qi` fai?Q

             l         +Yp ^a   8=^hf `aJR            @CDBY@8Yf           ^;f9IYB@

V8fBaI8Rdf^ ;aB8Q Nf^ 8Y /% N>Sj@IZG >a^n;8ad F^W 8a@n9bB qef^aB  rIY

7^aQmB Y^Id

             n       +Y ^a 8<^if `aJU    @BDBXA8Xfd         8YA        hdB@ 8 >H9IY

>^YYB>fB@ f^ 8 df^RBY `J>Qi` fai?Q 8[@ 8ff8>HB@ f^ fHB -Bd^ha>B 8XQ /$ f^

8ffBV`f f^ ;aB8Q Og^ fHB /$ 8X@ dfB9R fHB 5ZIfB@ .f8fBd >icaBX?o df^aB@ IY fHB

4




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      Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 7 of 10



              : >A %&=IF @B27      ),-,:)%:F   9,F ),.,:)%:FE

%;)           :,%D F0,   ,E=IC', %:6 # F> +1J, %L%M /?9 %< %&%:)=:,* EF=7,:

@2(5I@ FCI(6

       : K2=8%F4=: =. #3G7,  $:2F,* "H%F,E =), ",(F1=:  




                                         
     Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 8 of 10



                                     

       +@: )%        /  (" '0 <VOS@:O 6@2O>:Q

       $H LO 25LVT     2O6@    2S LVHSO]QB7; BH SA; !LOS@;OH BQTOB6T L=

FFBHLBQ

                                                    

                                  &, !)

7:=:H72HSR @:O;BH 87 S2E: 2H7 64O] 2[2] [BS@ BHS;HS TL QT;2F 2H7 MVOFLBH -JS:7

)T2S;Q 6XO;H6] @3ZBH> 2 Y2FV; :\6::9>  5;FLH?H> SL 2H7 BH S@: 62P:

6VQSL7] 6LHSOLF G2H2>:G:HS 2H7 MLQQ:QQBLH L= K2H7 2HE          )LVS@ 2P2H>;

'L27 LVHSO]QB7: FFBHLBQ S@: 7:MLQBTQ L= [@B6@ [:O; S@;H BHQVP:7 5] S@: :7:O2F

;MLQBT HRWO2H6: LONLO2SBLH

       H YDLF2SBLH L= +CUF:   .IBS:7 *T2T:Q L7: ):6TBLHQ   2H7 




                                         
    Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 9 of 10



                                   

      (9 &#          -       %! +$. ;T=9N 5=1O<9S

      "I LN 14LWT 1N5=           1T C9I F]I ?I T=9 !LNT=9NI ?STN?5T L: CEIL?S



69:9I61ITS =9O9?I 8?6 T1A9 1I7 51NR 1Z1] Z?T= ?IT9IT TL ST91C 1J6 MWNCL?I )I?T96

&T1T9S 5WNN9I5] =1Y@I< 1 Y1CW9 9\5996?I<  49CLI<?I< TL 01I7 ?I T=9 51N9

5WSTL6] 5LITNLC H1I1<9H9IT 36 MLSS9SS?LI L: #1OB1] 1IA                      ,

WTT9P9C6

$L16 C9I G^I DC?IL?S T=9 69MLS?TS L: Z>?5= [9N9 T=9I ?ISXN96 4] T=9 969N1C

9MLS@T ISWN1I59 LQLN1T?LI

      I Y@LC2V?LI L: '?TC9   *K?U96 &T1T9S L69 &95T?LIS      1I6 




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Case 4:22-mj-02782 Document 1 Filed on 12/02/22 in TXSD Page 10 of 10
